           Case 2:07-cr-00059-TLN Document 90 Filed 02/04/08 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   MARY L. GRAD
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2763
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )
                                   )          CR. No. S-07-059-LKK
11                  Plaintiff,     )
                                   )
12             v.                  )          STIPULATION RESETTING
                                   )          BRIEFING SCHEDULE
13   VAN HUNG VI, et al.           )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        On October 30, 2007, the partes set the following briefing
17   schedule in the captioned action: Defendants to file motions to
18   suppress on or before January 22, 2008; the government oppositions
19   to be filed on or before February 5, 2008; the defendant’s replies
20   to be filed on or before February 15, 2008; with the non-evidentiary
21   hearing before the court set for February 26, 2008 at 9:30 a.m.
22   Defendants’ timely filed their motions on January 22, 2008.
23        On January 28, 2008, government counsel learned that her
24   daughter needed surgery on a priority basis.        With the surgery and
25   recovery period, Ms. Grad will be away from the office in Los
26   Angeles, CA for most of February 2008.       Accordingly, to accommodate
27   Ms. Grad’s unanticipated absence from the office, as well as other
28   counsels’ current schedules, the parties agree and hereby stipulate

                                          1
           Case 2:07-cr-00059-TLN Document 90 Filed 02/04/08 Page 2 of 2


 1   that the remaining briefing schedule and hearing date will be
 2   amended as follows: the government’s oppositions to defendants’
 3   motions to suppress to be filed on or before March 25, 2008; the
 4   defendants’ reply to be filed on or before April 4, 2008; and the
 5   non-evidentiary hearing to be held before the court on April 15,
 6   2008 at 9:30.
 7        Time under the Speedy Trial Act is currently excluded based
 8   upon the defendants’ filing of their motions to suppress on January
 9   22, 2008.
10                                    McGREGOR W. SCOTT
                                      United States Attorney
11
     Dated: February 1, 2008          By /s/ Mary L. Grad
12                                    MARY L. GRAD
                                      Assistant U.S. Attorney
13
14   Dated; February 1, 2008          /s/ Douglas Horngrad
                                      DOUGLAS HORNGRAD
15                                    Counsel for Van Hung Vi
16
     Dated: February 1, 2008          /s/ Omar Figueroa
17                                    OMAR FIGUEROA
                                      Counsel to Ivy Tran
18
19   Dated: February 1, 2008          /s/ Timothy Zindel
                                      TIMOTHY ZINDEL
20                                    Counsel to Tommy Ly
21
     Dated: February 1, 2008          /s/ Douglas Rappaport
22                                    DOUGLAS RAPPAPORT
                                      Counsel to Van Hy Vi
23
24   Dated: February 1, 2008          /s/ Kresta Daley
                                      KRESTA DALEY
25                                    Counsel to Van Dat Vi
     SO ORDERED.
26
27   DATE: February 1, 2008
28

                                          2
